56 F.3d 62NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    In re David F. POTTER, Petitioner.
    No. 95-8005.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1995.Decided May 31, 1995.
    
      David F. Potter, petitioner pro se.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      David Potter, a North Carolina prisoner, filed a petition for writ of mandamus seeking to have this Court order the district attorney and the Superior Court of Wayne County, North Carolina, to act on his petition for post-conviction relief.
    
    
      2
      This Court gains its extraordinary writ jurisdiction from 28 U.S.C. Sec. 1651 (1988), which exists for the sole purpose of protecting the jurisdiction of the federal courts.  Gurley v. Superior Court of Mecklenburg County, 411 F.2d 586, 587 (4th Cir.1969).  Federal courts are without jurisdiction to issue writs compelling action by state courts and officials.  Gurley, 411 F.2d at 587;  see also Davis v. Lansing, 851 F.2d 72, 74 (2d Cir.1988).
    
    
      3
      Accordingly, we grant leave to proceed in forma pauperis, and deny the motion for counsel and the petition for writ of mandamus.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not significantly aid the decisional process.
    
    PETITION DENIED
    